RMT:DKK/MTK/JEA
F. #2018R00673

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA | | COMPLAINT
- against - 8 US.C. § 922(k))
-ASHIQUL ALAM, 19-M-531
Defendant
~ = enna nnn fees -X

EASTERN DISTRICT OF NEW YORK, SS:

SEAN DILLON, being duly sworn, deposes and states that he is a Special
Agent with the Federal Bureau of Investigation, duly appointed according to law and acting
as such.

Upon information and belief, on or about June 6, 2019, within the Eastern
District of New York, the defendant ASHIQUL ALAM did knowingly and intentionally
possess and receive firearms, to wit: two Glock 19 9mm semi-automatic pistols, which
firearms had the manufacturer’s serial numbers removed, obliterated and altered and which
had been shipped and transported in interstate and foreign commerce.

(Title 18, United States Code, Section 922(k))

The source of your deponent’s information and the erounds for his belief are

as follows:!

 

 

' Because this affidavit is being submitted for the limited purpose of
establishing probable cause to arrest, I have not set forth every fact learned during the course
1. Tam a Special Agent with the Federal Bureau of Investigation (“FBI”).
Tam currently assigned to the New York Joint Terrorism Task Force (“JITF”), and have
been with the JITTF since 2018. As a Special Agent, I have investigated numerous matters
during the course of which I have conducted physical surveillance, interviewed witnesses,
executed court-authorized search warrants, and used other investigative techniques to secure
relevant information. I am familiar with the facts and circumstances set forth below from |
my participation in the investigation; my review of the investigative file, including the
defendant’s criminal history record; and from reports of other law enforcement officers
_ involved in the investigation.

2. In the course of an investigation by the J TTF , ASHIQUL ALAM .
(“ALAM”) bought and received two firearms with obliterated serial numbers from |
undercover law enforcement officers.

THE DEFENDANT

3. According to records from federal immigration authorities, ALAM is a

22-year old Bangladeshi citizen who is a Lawful Permanent Resident (“LPR”) of the United

States. ALAM lives in Queens, New York.

 

of this investigation. ‘At various points in this affidavit, | will offer my interpretations of
certain communications in brackets and otherwise. My interpretations are based on my
knowledge of the investigation to date and review of prior communications, the contents and —
context of the communications, prior and subsequent communications, conversations with
officers, and my experience and familiarity with terrorist organizations generally.
Summaries of communications do not include references to ail the topics covered during the
course of the communications. In addition, the summaries do not necessarily include

 

réferénces to all Statemetits made by the speakers On the topics that are mentioned.” While
transcribers have attempted to transcribe conversations accurately, to the extent that
quotations from these communications are included, these are preliminary, not final,
transcriptions.
SUMMARY OF EVIDENCE

4, ‘An undercover law enforcement officer (“UC-1”) first met ALAM in
approximately August 2018 and continued meeting with him until J une 6, 2019. During
those meetings, ALAM repeatedly spoke approvingly about various terrorist attacks,
including the September 1ith terrorist attacks. In addition, the defendant made a number of
‘Statements of admiration for various terrorist organizations, including the Islamic State of |
Iraq and al-Sham (“ISIS”). During his meetings with UC-1, ALAM also repeatedly
expressed interest in purchasing firearms and explosives for use in a terrorist attack in the

New York City area.”

5. On or about September 11, 2018, UC-1I met with ALAM. During their
meeting, ALAM discussed deceased al-Qaeda leader Usama Bin Laden and the September
11th terrorist attacks. ALAM stated that Bin Laden’s “niission is a complete success,
thousands of American soldiers died and trillions of their monies gone in the war.”. ALAM
also stated that “it was the duty of Muslims, you know, to make the khalifa.”

6. | On or about September 15, 2018, ALAM met with UC-1 and again

_ spoke about Bin Laden’s speeches. When UC-1 inquired if anyone could replace Bin
Laden, ALAM stated “yeah... he did his job[.] He did what he is supposed to do. Now
it’s up to us.”

7. On or about September 27, 2018, ALAM and UC-1 met and discussed

the use of suicide vests. When UC-1 asked ALAM if ALAM would use a vest, ALAM

 

 

 

2 All the meetings between ALAM and undercover government agents herein
were recorded by the agents. Unless otherwise indicated, the defendant’s statements set
forth herein are summarized in sum, substance and relevant part.
stated “yeah man, that shit is painless ... you die right away. Better than prison, right?”
Later in the conversation, ALAM stated that they had “two options” to use the suicide vest in
either an attack in New York City in Times Square during a large event, or in Washington
DC. to kill a senior government official.

8. On or about December 6, 2018, UC-1 and ALAM met and again
discussed carrying out an attack in New York City. ALAM also lamented not having access
to the types of resources he deemed necessary to carry out the “plan.” When UC-1 asked
ALAM what types of resources were needed, ALAM stated that they needed to obtain bomb-
making materials, including means to detonate the suicide vest. ALAM also said that they
would need “a circle of balls and .. . when it blows up those balls explode and the metal goes
everywhere. The more better the explosives, the more farther the shrapnel could 20.” At

one point during the meeting, ALAM borrowed UC-1’s cellular telephone to search for and

_ . then listen to speeches by Anwar al-Awlaki.? Later in the meeting, ALAM discussed

obtaining AR-15 assault rifles to kill law enforcement officers.

9, On or about January 4, 2019, UC-1 again met with ALAM. During
their meeting, UC-1 and ALAM agreed to conduct a “recon,” meaning reconnaissance, of
Times Square. UC-1 and ALAM then traveled together to Times Square. When they
arrived, ALAM used his cellular telephone to make a video recording of the area) ALAM —

explained to UC-1 that he was looking for potential targets. UC-1 thereafter asked ALAM

 

3 Before his death, Awlaki was an influential American-born Islamic lecturer

 

~~ and teader of al-Qaeda in the Arabian Peninsuia who espoused violent jihad agaist
Westerners and encouraged the emigration of foreign fighters to lands around the world
where Muslims were perceived to be under attack.
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what next steps they would take. ALAM responded that they “would have to become ready.
Like in a war, youknow. You make the plans, you do the recon.” Additionally, ALAM
asked UC-1 which areas within Times Square would be considered “more important” targets
to attack. When UC-1 suggested the area around Father Duffy Square*, ALAM stated,
“That is the place we hit. That is the place.” At the end of their meeting, ALAM expressed
excitement about the reconnaissance and stated that “we did the recon today, perfect” and
that conducting a “recon is important, trust me.”

10. Onor about January 16, 2019, ALAM and UC-1 traveled to a shooting .
range in Pennsylvania. While driving to the range, ALAM and UC-1 discussed ISIS, and
ALAM stated, “I want-to die fighting man.” Once they arrived at the range, ALAM and

UC-1 received a shooting lesson from an employee of the range. Afierwards, ALAM stated
‘to UC-1, “damn, 1 want to carry that gun so badly, ail the time.”

11. While driving home from the range, that same day, ALAM and UC-1
discussed purchasing firearms from an associate of UC-1. ALAM stated that making such a.
purchase was a huge risk, but not a bad idea if they could avoid being arrested by not
carrying the firearm on their person all the time. ALAM stated that he hoped UC-1’s ~
associate was not a police officer. ALAM informed UC-] that he was “willing to pay like
$500.” During the drive, ALAM also searched for firearm orices on the internet using his
cellular telephone. Additionally, although an employee at the range told ALAM it would be

illegal to bring misfired bullets back to New York City, ALAM brought several such bullets

 

 

 

4 Father Duffy Square is located in Times Square.
back with him. On the way home, ALAM and UC-1 also discussed the best places to hide a
weapon in a car.

12, | On or about January 21, 2019, UC-1 again inet with ALAM. During
the meeting, ALAM suggested they do another “recon” of Times Square, stating, “So let’s
hit it bro, our proj ect, Times Square.” When UC-1 asked exactly what ALAM meant,
ALAM stated, “the whole thing, like last time... Only this time we should be more
coordinated.” During the drive to Times Square that followed, ALAM described how much
he enjoyed the firearms range and stated that next time he wanted to shoot an AR-15. Once —
in Manhattan, ALAM began filming with his cellular phone neat 36th Street and 6th Avenue,
and stated “all right, second recon start[s| now.” ALAM stated that if they completed an
attack successfully, then they would become “legends.”

13. While in Times Square on or about January 21, 2019, ALAM pointed
to an area within Times Square and stated, “most of the people are there you know, it makes
more impact.” When UC-4 asked ALAM where the spot was, ALAM explained that it was
in Father Duffy Square. During this trip to Times Square, ALAM also asked UC-1 whether |
UC-1 spoke with his associate about obtaining a firearm. When UC-1 asked tfa firearm
would be used in their plan to attack Times Square, ALAM stated, “yeah man, why not...
we will talk in detail, but... we should get it.” |

14. During subsequent meetings in February 2019 between ALAM and
UC-1, ALAM continued to express interest in purchasing a firearm from UC-1 's associate.

For instance, on or about February 13, 2019, ALAM told UC-1 that he would use a firearm

 

to “try to shoot down fags” and, when UC-1 again asked if firearms would be used in their

“plan,” ALAM replied “yeah, Inshahallah, if it comes to that, yeah.”
15.  Onor about March 14, 2019, ALAM and UC-1 again met. While

driving on the Westside Highway in UC-1’s vehicle, ALAM pointed to a building and asked
. if it was the new World Trade Center. When UC-1 responded affirmatively, ALAM stated,
“More for us to break.” When UC-1 asked how ALAM would conduct such an attack on
the World Trade Center, ALAM replied, “probably a rocket launcher, like a huge one.” UC-
1 then asked how ALAM would conduct an attack with “the tools we have today.” ALAM
replied in a whisper, “Available tools, probably a bomb.” During this meeting, ALAM
again asked UC-1 about his associate “with the guns.” UC-1 stated that they would have to
go see the associate if they wanted to purchase firearms. ALAM replied, “Okay, let’s go
see.” |

16.  Onor about March 21, 2019, ALAM and UC-1 met. During this’
meeting, UC-1 asked what would make ALAM happy. ALAM replied “seeing the flag of
Islam on the Twin Towers or the Empire State Building.” ALAM again reminded UC-1 that
ALAM wanted to purchase a firearm and asked, “When are we going to meet [UC-1’s
associate]?” - UC-1 then placed a call on speaker phone to his “associate”—actually a second
undercover officer (“UC-2”)—tegarding the purchase of firearms. © During the call, UC-2
stated that UC-2 had a reliable weapons supplier who could obtain whatever weapons
ALAM wanted. After the call, ALAM told UC-1 that he would be interested in buying a
Glock 9mm pistol. .

— 17. ° On or about April 11, 2019, ALAM and UC-1 met again and discussed

 

ALAM’: interest in purchasing firearms from UC-2, the “associate” of UC-1. During the

 

conversation, ALAM asked UC-1 to call UC-2 to set up a meeting and negotiate a price for
_the firearms. UC-1 then called UC-2 on a speaker phone as ALAM listened. During the
call, UC-2 agreed to meet with ALAM and UC-1 to discuss a firearms purchase.

18. Later that same day, ALAM and UC-i met with UC-2. During the
meeting, ALAM told UC-2 that ALAM wanted to buy two Glock G19 semi-automatic
pistols. ALAM then asked whether the guns were bought “legally or from the streets,” and
UC-2 explained that the guns were obtained illegally. UC-2 explained to ALAM that his
associate, a third undercover officer (““UC-3”), was the source of all of firearms sold by UC-
2, ALAM thereafter confirmed that he wanted to purchase two Glock G19 semi-automatic
pistols and that he was prepared to pay $2,000 in total for both of them. ALAM also |
discussed with UC-1 and UC-2 concerns. about purchasing the firearms from UC-2, including .
that it would be too risky to buy them on the street and then drive with them in a vehicle.
ALAM suggested that it would be better to buy the guns in a residence because law
enforcement officials need a search warrant to search a residence.

19. | ALAM further confirmed his interest in purchasing firearms in
subsequent conversations with UC-1. For example, on or about April 18, 2019, ALAM and
UC-1 met and, within a minute of meeting with UC-1, ALAM asked UC-1 if UC-1 had
“good news or no” about “the thing.” When UC-1 asked ALAM if he was “talking about
the gun guy,” ALAM nodded in agreement. ALAM then asked UC-1 when they would be
traveling again to the shooting range in Pennsylvania. ALAM and UC-1 thereafter
discussed using rifles at the range, and ALAM expressed an interest in potentially purchasing

arifle.

 

20. On or about April 25, 2019, ALAM and UC-1 again traveled to a

shooting range in Pennsylvania. While driving to the range, ALAM told UC-1 that ALAM
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had a Lasik eye surgery appointment in the coming weeks and asked for assistance in driving :
to and from the appointment. When UC-1 asked ALAM why he was taking a risk and
having eye surgery, ALAM replied: “Let’s say we are in an attack, right, say that my glasses _
fall off. What if] accidentally shoot you? You know what I mean. Imagine what the
news channel would call me [laughing] the ‘Looney Tunes ‘Terrorist’ [laughing] or the “Blind
Terrorist’ [laughing].” UC-1 then asked whether ALAM and UC-1i would use a firearm ~
during an attack, to which ALAM stated that ALAM would potentially use a firearm after
first using a bomb. On their return from the gun range, ALAM and UC-1 further discussed
the purchase of firearms from UC-2 and UC-3 and an appropriate price for a Glock G19
semi-automatic pistol. Oe |

21. On or about May 2, 2019, ALAM and UC-1 met again and discussed
purchasing firearms. During the conversation, ALAM asked UC-1 if he had spoken with
UC-2. UC-1 told ALAM that he had spoken with UC-2, and UC-2 had explained to UC-1
that the guns would have the serial numbers scratched off. ALAM replied, “Oh, that’s good
man.” When UC-1 told ALAM that UC-2 would be calling over the weekend regarding
when to meet, ALAM stated, “Yeah man, that’s good. Fuck, This year is going to be good |
man, I have a feeling.” On or about May 5, 2019, UC-1 and ALAM communicated via
cellular telephone. UC-1 told ALAM that UC-2 needed to meet with UC-3 and that UC-3
did not have firearms to sell immediately, but UC-3 wanted to show ALAM and UC-1I what
types of firearms UC-3 could obtain and sell. ALAM agreed to meet UC-1, UC-2 and UC-3

at UC-1°s apartment later that week.

 

 

22. Onor about May 9, 2019, ALAM and UC-1 met at UC-1’s apartment

in Brooklyn. While waiting on the arrival of UC-2 and UC-3, ALAM told UC-1 that
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ALAM hoped the police did not come through the front door of the apartment. After UC-2
and UC-3 arrived at the apartment, UC-2 opened a suitcase containing firearms, including
handguns and an Avtomat Kalashnikova (“AK-47”) assault rifle, as well as hand grenades.
After UC-2 and UC-3 explained that all of the firearms have serial numbers scratched off,
ALAM asked if he couid hold the Glock G19 semi-automatic pistol being shown to him.
ALAM further inquired about the AK-47 and asked UC-3 whether it was a fully automatic
rifle, and UC-3 confirmed that the AK-47 was fully automatic. Further, ALAM, after
observing the grenades, stated that they “look like Russian-made grenades.” As UC-3 was
leaving the apartment, ALAM asked UC-3 for an estimate on the two Glock G19. semi-
automatic pistols, to which UC-3 replied “let me check, let me see what I can do.”

23, After UC-2 and UC-3 left the apartment, ALAM stated, “Damn man,
he’s rocking an AK” and asked UC-1 if he wanted an AK-47. ALAM then told UC-1 that
they should buy only one AK-47, because two would be too expensive. | Later in the
conversation, UC-1 asked ALAM how ALAM would use the AK-47 as part of their plan.
ALAM explained that the AK-47 could be useful as part of a suicide vest attack, ALAM
also discussed buying grenades and told UC-1 that grenades could do significant damage and
that they could buy grenades if they are unable to find explosives. ALAM explained that a

grenade could “take out at least eight people” if it were to explode indoors, such as in a mall,
or ina large gathering. At the end of the conversation, ALAM told UC-1 that he first
wanted to buy the two Glock pistols. ALAM further stated, “Damn bro, I’m happy,” to

which UC-1 asked, “Why?” ALAM stated, “You know ... the guns... progress.”

 

24.  Onor about May 16, 2019, ALAM and UC-1 met and discussed their

plans to purchase firearms from UC-3. During the conversation, ALAM asked UC~1 if he.
il

had spoken with UC-2 about obtaining the two Glock pistols and asked UC-1 whether they
should buy grenades as well. ALAM thereafter began to search for and watch YouTube
videos of gun reviews on his cellular phone, including a review for a Glock G19 semi-
automatic pistol. ALAM and UC-1 then agreed to meet with UC-2 in person to discuss
purchasing the two Glock pistols. On or about May 21, 2019, ALAM and UC-1
communicated via cellular telephone. UC-1 told ALAM that UC-2 would meet with them |
to discuss what firearms they wanted to buy. ALAM agreed to meet UC-1 and UC2 later
that week.

25. Onor about May 23, 2019, ALAM and UC-1 met UC-2 at UC-1’s
apartment in Brooklyn. During that meeting, ALAM told UC2 “that we decided on the
Glock 19,” but asked UC-2 whether UC-2 could obtain a recent model of the firearm because
ALAM did not want to buy an older model, ALAM then asked UC-2 whether UC-2 could
obtain ammunition and stated: “What is the point of getting a gun without ammo?” ALAM
thereafter told UC-2 that ALAM wanted to buy two boxes of ammunition along with the two
Glock 19 semi-automatic pistols. ALAM and UC-2 also discussed the price of the firearms,
and ALAM agreed to pay $800 for the two Glock pistols. |

26. Onor about May 29, 2019, ALAM and UC-1 met. During that
meeting, ALAM told UC-1 that after they purchased the two Glock pistols ALAM wanted to
buy agrenade. When UC-1 asked ALAM if they should order grenades from UC-2, ALAM
_ told UC-1 that ALAM and UC-1 should first buy the pistols and allow UC-2 to get

comfortable with ALAM and UC-1. UC-~1 then called UC-2 on a speaker phone.as ALAM

 

listened. During the call, UC-2 told ALAM and UC-1 that UC-3 would meet ALAM, UC-1

and UC-2 at UC-1’s apartment in Brooklyn the following week to sell the two Glock pistols
12

to ALAM and UC-1. When UC-2 asked ALAM and UC-1 if they wanted to buy anything
else, ALAM stated, “For now we are satisfied but later on we are eoing to ask for some other
stuf” |

27.  Onor about June 6, 2019, ALAM and UC-1 met and traveled to UC-
1’s apartment. ‘While traveling to UC-1’s apartment in Brooklyn, UC-1 asked ALAM if he
was “ready for this. Are you sure you want to do this?” ALAM replied, “Yeah, yeah, of
course.” Later in the conversation, ALAM told UC-1 that he wanted to obtain a New York
State enhanced driver license. When UC-1 asked ALAM why he wanted an enhanced
driver license, ALAM told UC-1 that an enhanced driver license would allow ALAM to |
“walk on to a military base” so that he could “blow it up.”

28. After arriving at UC-1’s apartment, ALAM and UC-1 met UC-2 and
UC-3 to complete the firearms transaction. During that meeting, UC-3 told ALAM and UC-
1 that the price for each of the Glock 19 pistols was $400 and that UC-3 included a box of
ammunition for free. ALAM immediately responded “thanks a lot for the ammo” and asked
UC-3 about the model of the Glock 19 pistols. UC-2 then showed. ALAM and UC-I that
each of the firearms had the serial numbers scratched off and ALAM asked about the process
used to scratch off the serial numbers. ALAM and UC-] then paid $400 to UC-3 for each of
the two Glock 19 pistols. ALAM provided $400 towards the purchase, all in $100 bills.
Shortly thereafter, UC-3 asked ALAM if ALAM had any questions, to which ALAM asked
UC-3 whether ALAM could buy a silencer from UC-3._ ALAM also asked UC-3 whether

the Glock 19 pistol that he just purchased was compatible with a silencer. ALAM again

 

 

thanked UC-2 and UC-3 for selling ALAM and UC-1 the firearms. Following the purchase

of the firearms, ALAM was placed under arrest by law enforcement officials.
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29,  Thave conferred with a Nexus expert, a Special Agent of the Bureau of
Alcohol, Tobacco, Firearms and Explosives, who has informed me that the Glock 19 omm
semi-automatic pistols bought and received by ALAM were not manufactured in the state of
New York. |

WHEREFORE, your deponent respectfully requests that the defendant
ASHIQUL ALAM be dealt with according to law.
SEAN DILLON

Special Agent
Federal Bureau of Investigation

Sworn to before me this —
7th day of June, 2019 |

Dyn.
CHL PRLGA
THE HOMORABLE CHERYL L. POLLAK.
UNITERISTATES MAGISTRATE JUDGE

EASTERN DISTRICT OF NEW YORK

 

 
